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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
THOMAS DASHER,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for order granting permission to seal (Filing No. 634).                 The

Court finds the motion should be granted.             Accordingly,

           IT IS ORDERED that defendant’s motion to seal his

motion to continue is granted.

           DATED this 5th day of March, 2013.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
